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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




PIERRE FATTOUCH
Saint Michel Street - Fattouch Blg
Lebanon - Zahleh

MOUSSA FATTOUCH
Saint Michel Street - Fattouch Blg
Lebanon - Zahleh

UNITED LEBANESE QUARRIES AND
CRUSHERS COMPANY S.A.L.
Fattouch Building
Haouch El Omara - Bassatine Street
Lebanon - Zahleh
                                                             Case No. __________

                  v.

THE REPUBLIC OF LEBANON,
Its Ministries, Agencies, and Instrumentalities
c/o Ministry of Justice
Sami Soloh Street – Adlieh Area, 5th Floor
Beirut Lebanon

HER EXCELLENCY MARIE-CLAUD NAJIM
MINISTRY OF JUSTICE
Minister of Justice
Sami Soloh Street – Adlieh Area, 5th Floor
Beirut Lebanon

             Defendant State.


                                     NOTICE OF ERRATA

            On September 15, 2020, undersigned counsel submitted a Complaint that
inadvertently omitted the mailing addresses of the parties, and the name of the attorneys spelled
out after the “/s/” on the signature line. Attached are the correct pages. Thank you,

Date: September 16, 2020
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                              _______/s/_Mauricio J. Tamargo__________
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                              Counsel for the Plaintiffs




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